USCA4 Appeal: 24-4007      Doc: 38         Filed: 08/26/2024    Pg: 1 of 3




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 24-4007


        UNITED STATES OF AMERICA,

                            Plaintiff - Appellee,

                     v.

        COREY GARDNER,

                            Defendant - Appellant.



        Appeal from the United States District Court for the District of Maryland, at Baltimore.
        Deborah K. Chasanow, Senior District Judge. (1:21-cr-00272-DKC-1)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Dismissed in part and affirmed in part by unpublished per curiam opinion.


        ON BRIEF: Vincent A. Jankoski, Silver Spring, Maryland, for Appellant. John Walter
        Sippel, Jr., Assistant United States Attorney, OFFICE OF THE UNITED STATES
        ATTORNEY, Baltimore, Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Corey Gardner seeks to appeal his convictions and the 144-month sentence imposed

        following his guilty plea, pursuant to a Fed. R. Crim. P. 11(c)(1)(C) plea agreement, to two

        counts of possession with intent to distribute a controlled substance, in violation of

        21 U.S.C. § 841(a)(1). Gardner’s counsel has filed a brief pursuant to Anders v. California,

        386 U.S. 738 (1967), asserting that there are no meritorious grounds for appeal but

        questioning whether Gardner’s guilty plea is valid and whether the sentence is procedurally

        reasonable. Gardner did not file a pro se supplemental brief after being notified of his right

        to do so. The Government has moved to dismiss the appeal as barred by the appeal waiver

        included in the plea agreement.

               Where, as here, the Government seeks to enforce an appeal waiver and the defendant

        has not alleged a breach of the plea agreement, we will enforce the waiver if it is valid and

        the issues raised on appeal fall within its scope. United States v. Boutcher, 998 F.3d 603,

        608 (4th Cir. 2021). Our review of the plea hearing leads us to conclude that Gardner’s

        guilty plea is valid, that Gardner knowingly and intelligently waived his right to appeal,

        and that the waiver is valid and enforceable. Gardner’s challenge to his sentence falls

        squarely within the waiver’s scope, and we discern no basis to decline to enforce the

        otherwise valid waiver and consider the reasonableness of the agreed-upon sentence.

        Finally, we have reviewed the record in accordance with Anders and have identified no

        potentially meritorious issues that would fall outside the scope of the waiver. Accordingly,

        we grant the Government’s motion to dismiss Gardner’s appeal as to all issues within the

        waiver’s scope. We affirm the remainder of the criminal judgment.

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               This court requires that counsel inform Gardner, in writing, of the right to petition

        the Supreme Court of the United States for further review. If Gardner requests that a

        petition be filed, but counsel believes that such a petition would be frivolous, then counsel

        may move in this court for leave to withdraw from representation. Counsel’s motion must

        state that a copy thereof was served on Gardner. We dispense with oral argument because

        the facts and legal contentions are adequately presented in the materials before this court

        and argument would not aid the decisional process.

                                                                               DISMISSED IN PART,
                                                                                AFFIRMED IN PART




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